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                                                                                                                                       Date
     Begin Bates            End Bates                     Description/Filename
                                                                                                                                     Produced
                                                              Correspondence
                                          Articles of Incorporation Ace Gallery New York
                                                                                                                                    10/4/2023
USAO_00020701          USAO_00020702      Corporation, filed February 14, 2013
                                          Statement of Information Ace Gallery New York
                                                                                                                                    10/4/2023
USAO_00020703          USAO_00020703      Corporation, filed April 18, 2013
                                          Fw_ Voice Message Attached from- SAHN PHONE
                                                                                                                                    10/4/2023
USAO_00020704          USAO_00020704      VICT                                                Trial Prep
USAO_00020705          USAO_00020705      Voice message from - SAHN PHONE VICT                Trial Prep                             10/4/2023
USAO_00020706          USAO_00020708      Fw_ USA v Douglas Chrismas                          Trial Prep                             10/4/2023
USAO_00020709          USAO_00020710      [EXTERNAL] FW_ 1 of 4_from Carolyn Dye              Trial Prep                             10/4/2023
USAO_00020711          USAO_00021049      Chrismas Depo 8-7-19 (unmarked)                     Defense counsel present                10/4/2023
USAO_00021050          USAO_00021050      [EXTERNAL] FW_ 2 of 4_from Carolyn Dye              Trial Prep                             10/4/2023
USAO_00021051          USAO_00021310      Douglas James Chrismas 100419 FULL Vol II                                                  10/4/2023
USAO_00021311          USAO_00021311      [EXTERNAL] FW_ 3 of 4_from Carolyn Dye              Trial Prep                             10/4/2023
USAO_00021312          USAO_00021485      Douglas James Chrismas 101819 FULL Vol III                                                 10/4/2023
USAO_00021486          USAO_00021486      [EXTERNAL] FW_ 4 of 4_from Carolyn Dye              Trial Prep                             10/4/2023
USAO_00021487          USAO_00021566      VictorSahn_COND                                     Trial Prep                             10/4/2023
USAO_00021567          USAO_00021568      [EXTERNAL] RE_ Trial Subpoena                       Trial Prep                             10/4/2023
USAO_00021569          USAO_00021569      [EXTERNAL] RE_ USA v. Douglas Chrismas              Trial Prep                             10/4/2023
USAO_00021570          USAO_00021571      [EXTERNAL] RE_ USA v Douglas Chrismas            Trial Prep                                10/4/2023
USAO_00021572          USAO_00021574      RE_ Doug Chrismas                                Trial Prep                                10/4/2023
USAO_00021575          USAO_00021576      Fw_ Spies and CNB                                                                         10/4/2023
USAO_00021577          USAO_00021579      Fw_ Trial Subpoena for Mr. Dayan e-mail          Trial Prep                               10/4/2023
USAO_00021580          USAO_00021581      Fw_ Trial Subpoena e-mail                        Trial Prep                               10/4/2023
                                          Strauss email chain with chrismas USAO_00006644-
                                                                                                                                    10/4/2023
USAO_00021582          USAO_00021588      USAO_00006650
USAO_00021589          USAO_00021590      Ace Gallery Invoice- Strauss                                                              10/4/2023
USAO_00021591          USAO_00021596      Fw_ USA v. Douglas Chrismas                      Trial Prep                               10/4/2023
USAO_00021597          USAO_00021602      Fw_ USA v. Douglas Chrismas                      Trial Prep                               10/4/2023
USAO_00021603          USAO_00021606      Fw_ Trial Subpoena for Mr. Dayan                 Trial Prep                               10/4/2023
                                          Fw_ [EXTERNAL] (Forward to others) Webex meeting
                                                                                                                                    10/4/2023
USAO_00021607          USAO_00021608      invitation_ Dayan Interview                      Trial Prep
]                      USAO_00021609      Fw_ Trial Subpoena                               Trial Prep                               10/4/2023
USAO_00021610          USAO_00021635      plan confirmation order                          Bankruptcy Document                      10/4/2023
                                          Amended Chapter 11 Plan-Modified Second Amended
                                                                                                                                    10/4/2023
USAO_00021636          USAO_00021721      Plan                                             Bankruptcy Document
USAO_00021722          USAO_00021723      Fw_ Request for Billing Info                     Request from defendant re: expert fees   10/4/2023
USAO_00021724          USAO_00021724      Fw_ Trial Subpoena                               Trial Prep                               10/4/2023
USAO_00021725          USAO_00021726      Trial Subpoena Sahn                              Trial Prep                                10/4/2023
USAO_00021727          USAO_00021727      Fw_ Voice Message Attached from - BETH YOUNG     Trial Prep                               10/4/2023
USAO_00021728          USAO_00021728      Voice message from BETH YOUNG                    Trial Prep                               10/4/2023
                                          Fw_ [EXTERNAL] Webex meeting invitation_ Bender
                                                                                                                                    10/4/2023
USAO_00021729          USAO_00021730      Interview                                        Trial Prep

USAO_00021731          USAO_00021733      Fwd_ Fleury Report follow-up                        MLAT                                   10/4/2023
USAO_00021734          USAO_00021747      Attachment_Fleury Report follow-up                  MLAT                                   10/4/2023
USAO_00021748          USAO_00021749      Fw_ Jennifer Kellen                                 Trial Prep                             10/4/2023
                                          Art & Architecture
Ltr with Flash Drive
dated 07-24-2019
USAO_00021750          USAO_00021754      Cover letter to Jolene                                                                     10/4/2023
USAO_00021755          USAO_00022229      Fifth Amended Complaint with Exhibits filed         Bankruptcy Document                    10/4/2023
USAO_00022230          USAO_00022338      Filed Ziegler Declaration to Vacate Stipulation2    Bankruptcy Document                    10/4/2023
USAO_00022339          USAO_00022405      Plan Agent First Status Report                      Bankruptcy Document                    10/4/2023
Additional
Communication
USAO_00022406          USAO_00022459      12.20.19 letter with exhibits                                                              10/4/2023
                                          Art & Architecture Books of the 21st Century,
USAO_00022460          USAO_00022460      Bankruptcy Case Number 2_13-bk-14135-RK                                                    10/4/2023
USAO_00022461          USAO_00022461      Art & Architecture Books of the 21st Century                                               10/4/2023
                                          Art & Architecture Books of the 21st Century-plan
USAO_00022462          USAO_00022462      agent                                                                                      10/4/2023
                                          FW_ Art & Architecture Books of the 21st Century,
USAO_00022463          USAO_00022464      Bankruptcy Case No. 3_13-bk-14135-RK (_Debtor_)                                            10/4/2023
USAO_00022465          USAO_00022467      2019_10_30_11_14_42 (002)                                                                  10/4/2023


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                                       FW_ In re_ Art & Architecture Books of the 21st
                                       Century – Bankruptcy Case No. 2_13-bk-14135-RK;
                                       Adversary Case No. 2_15-ap-1679-RK - Letter Dated
USAO_00022468       USAO_00022469      Today                                                                       10/4/2023
USAO_00022470       USAO_00022475      J. Tanner Ltr 12.20.19 (002)                                                10/4/2023
USAO_00022476       USAO_00022522      ChrismasRule2004 (002)                              Bankruptcy Document     10/4/2023
USAO_00022523       USAO_00022525      RE_ Art & Architecture Books of the 21st Century                            10/4/2023
                                       RE_ Art & Architecture Books of the 21st Century,
USAO_00022526       USAO_00022527      Bankruptcy Case Number 2_13-bk-14135-RK                                     10/4/2023
                                       RE_ Art & Architecture Books of the 21st Century-
                                       Douglas Chrismas Deposition, Bankruptcy Case No.
                                       2_13-bk-14135-RK; Leslie v. Chrismas, et. al.,
USAO_00022528       USAO_00022529      Adversary No. 2_15-ap-01679-RK                                              10/4/2023
USAO_00022530       USAO_00022868      Chrismas Depo Transcript 8-7-19                   Defense counsel present   10/4/2023
                                       Email from Chrismas 10-12-2019 received from USTO
USAO_00022869       USAO_00022871      11.2019                                                                     10/4/2023
USAO_00022872       USAO_00022873      Email from Victor Sahn 8-14-2019                                            10/4/2023
                                       Bankruptcy Court Filings
Adversary Proceeding
Filings
USAO_00022874        USAO_00022985     4th Amended Complaint and Exhibits                  Bankruptcy Document     10/4/2023


USAO_00022986       USAO_00023460      465 - fifth amended complaint                       Bankruptcy Document     10/4/2023
USAO_00023461       USAO_00023544      701- cathay bank answer to complaint                Bankruptcy Document     10/4/2023
                                       702 - answer of 400 SLB defendants to 6th amended
USAO_00023545       USAO_00023625      complaint                                           Bankruptcy Document     10/4/2023
USAO_00023626       USAO_00023644      703 - Chrismas answer to 6th amended complaint      Bankruptcy Document     10/4/2023
USAO_00023645       USAO_00023660      Docket creditors committe v. chrismas               Bankruptcy Document     10/4/2023
Bankruptcy Case
Filings
                                       1646 - hearing transcript CONT'D STATUS
USAO_00023661       USAO_00023831      CONFERENCE RE PLAN                                  Bankruptcy Document     10/4/2023
                                       1662 - hearing transcript CONT'D STATUS
USAO_00023832       USAO_00023982      CONFERENCE RE PLAN                                  Bankruptcy Document     10/4/2023
USAO_00023983       USAO_00023985      1807 - order approving settlement of claim          Bankruptcy Document     10/4/2023
USAO_00023986       USAO_00024071      1859 - modified second amended plan                 Bankruptcy Document     10/4/2023
USAO_00024072       USAO_00024157      1859 - second amended plan                          Bankruptcy Document     10/4/2023
USAO_00024158       USAO_00024205      1872 - findings of fact re confirmation             Bankruptcy Document     10/4/2023
USAO_00024206       USAO_00024231      1873 - order confirming plan                        Bankruptcy Document     10/4/2023
USAO_00024232       USAO_00024237      1925 - stipulation with IRS re lien                 Bankruptcy Document     10/4/2023
USAO_00024238       USAO_00024240      1931 - order on stipulation with IRS                Bankruptcy Document     10/4/2023
USAO_00024241       USAO_00024243      2001 - order on claim objection                     Bankruptcy Document     10/4/2023
USAO_00024244       USAO_00024247      Alexander - Stip - Filed                            Bankruptcy Document     10/4/2023
USAO_00024248       USAO_00024249      Alexander - Stip - O - Entered                      Bankruptcy Document     10/4/2023
USAO_00024250       USAO_00024815      Art and Architecture Docket 6-26-20                 Bankruptcy Document     10/4/2023
USAO_00024816       USAO_00024829      Corse - Stip 2 - Filed                              Bankruptcy Document     10/4/2023
USAO_00024830       USAO_00024831      Corse - Stip 2 - O - Entered                        Bankruptcy Document     10/4/2023
USAO_00024832       USAO_00024833      Foram - O - Entered                                 Bankruptcy Document     10/4/2023
USAO_00024834       USAO_00024841      Foram - Stip - Filed                                Bankruptcy Document     10/4/2023
USAO_00024842       USAO_00024849      Fox - Stip - Filed                                  Bankruptcy Document     10/4/2023
USAO_00024850       USAO_00024851      Fox - Stip - O - Entered                            Bankruptcy Document     10/4/2023
USAO_00024852       USAO_00024853      Hede - O - Entered                                  Bankruptcy Document     10/4/2023
USAO_00024854       USAO_00024860      Hede - Stip - Filed                                 Bankruptcy Document     10/4/2023
USAO_00024861       USAO_00024862      Venet - O - Entered                                 Bankruptcy Document     10/4/2023
USAO_00024863       USAO_00024867      Venet - Stip - Filed                                Bankruptcy Document     10/4/2023
USAO_00024868       USAO_00024873      Yulish - Stip - Filed                               Bankruptcy Document     10/4/2023
USAO_00024874       USAO_00024875      Yulish - Stip - O - Entered                         Bankruptcy Document     10/4/2023
B. Cout Filings
USAO_00024876       USAO_00024884      Claims Register 6-26-20                             Bankruptcy Document     10/4/2023
USAO_00024885       USAO_00024886      Douglas Chrismas Cases                                                      10/4/2023
USAO_00024887       USAO_00024888      Jennifer Kellen Cases                                                       10/4/2023
USAO_00024889       USAO_00024890      Related Cases                                                               10/4/2023
                                       Communication From Trustee
USAO_00024891       USAO_00024893      9-27-19 Letter                                                              10/4/2023
                                       Art & Architecture Books of the 21st Century,
USAO_00024894       USAO_00024894      Bankruptcy Case Number 2_13-bk-14135-RK                                     10/4/2023



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                                  Art & Architecture Books of the 21st Century - Letter
USAO_00024895   USAO_00024895     of this Date                                                                  10/4/2023
USAO_00024896   USAO_00024898     9-27-19 Letter (002)                                                          10/4/2023
USAO_00024899   USAO_00024900     Art & Architecture Books of the 21st Century                                  10/4/2023
USAO_00024901   USAO_00024903     2019_10_30_11_14_42 (002)                                                     10/4/2023
                                  From UST July - Aug 2020
USAO_00024904   USAO_00024915     Doc #65 Status Report 2013 04 10                        Bankruptcy Document   10/4/2023
USAO_00024916   USAO_00024923     Doc #390 Status Report 2013 10 16                       Bankruptcy Document   10/4/2023
USAO_00024924   USAO_00024934     Doc #392 Status Report 2013 10 16 Exhibit               Bankruptcy Document   10/4/2023
USAO_00024935   USAO_00024942     Doc #437 Status Report 2014 01 15                       Bankruptcy Document   10/4/2023
USAO_00024943   USAO_00024952     Doc #498 Status Report 2014 03 19                       Bankruptcy Document   10/4/2023
USAO_00024953   USAO_00024968     Doc #512 Status Report 2014 04 01                       Bankruptcy Document   10/4/2023
USAO_00024969   USAO_00024978     Doc #564 Status Report 2014 04 30                       Bankruptcy Document   10/4/2023
USAO_00024979   USAO_00024988     Doc #653 Status Report 2014 08 13                       Bankruptcy Document   10/4/2023
USAO_00024989   USAO_00024998     Doc #696 Status Report 2014 10 22                       Bankruptcy Document   10/4/2023
USAO_00024999   USAO_00025007     Doc #1485 Committee Status Report 2015 12 09            Bankruptcy Document   10/4/2023
                                  Doc #1488 Committee Status Report 2015 12 11
USAO_00025008   USAO_00025031     Supplement                                              Bankruptcy Document   10/4/2023
                                  Doc #1495 Committee Status Report 2015 12 15
USAO_00025032   USAO_00025045     Response                                                Bankruptcy Document   10/4/2023
                                  Doc #1500 Committee Status Report 2015 12 15
USAO_00025046   USAO_00025048     Chrismas                                                Bankruptcy Document   10/4/2023
USAO_00025049   USAO_00025052     Doc #1583 Status Report 2016 01 06                      Bankruptcy Document   10/4/2023
USAO_00025053   USAO_00025119     Doc #2026 Status Report 2016 05 12                      Bankruptcy Document   10/4/2023
USAO_00025120   USAO_00025176     Doc #2076 Status Report 2016 06 28                      Bankruptcy Document   10/4/2023
USAO_00025177   USAO_00025180     Doc #2079 Status Report Supplement 2016 07 01           Bankruptcy Document   10/4/2023
USAO_00025181   USAO_00025187     Doc #2093 Plan Implementation Report 2016 07 14         Bankruptcy Document   10/4/2023
USAO_00025188   USAO_00025226     Doc #2129 Plan Implementation Report 0216 09 09         Bankruptcy Document   10/4/2023
USAO_00025227   USAO_00025255     Doc #2304 Status Report 2017 08 10                      Bankruptcy Document   10/4/2023
USAO_00025256   USAO_00025281     Doc #2314 Status Report 2018 01 26                      Bankruptcy Document   10/4/2023
USAO_00025282   USAO_00025301     Doc #2350 Status Report 2018 05 31                      Bankruptcy Document   10/4/2023
USAO_00025302   USAO_00025323     Doc #2412 Status Report 2018 11 30                      Bankruptcy Document   10/4/2023
USAO_00025324   USAO_00025367     Doc #2478 Status Report 2019 05 31                      Bankruptcy Document   10/4/2023
USAO_00025368   USAO_00025376     Doc #2505 Status Report Supplement 2019 07 16           Bankruptcy Document   10/4/2023
                                  Doc #2505 Status Report Supplement Errata 2019 07
USAO_00025377   USAO_00025380     17                                                      Bankruptcy Document   10/4/2023
USAO_00025381   USAO_00025396     Doc #2517 Update to Status Report 2019 08 19            Bankruptcy Document   10/4/2023
USAO_00025397   USAO_00025409     Doc #2589 Status Report 2020 01 06                      Bankruptcy Document   10/4/2023
                                  12-20-2019 Letter to Jolene Tanner from Trustees
USAO_00025410   USAO_00025415     Attorney                                                                      10/4/2023
                                  732-13-14135 07-24-2013 Deposition Transcript of
USAO_00025416   USAO_00025634     Shirley Holst CPA                                                             10/4/2023


                                  732-13-14135 Docket No. 542 Declaration of Jennifer
USAO_00025635   USAO_00025743     Ziegler                                             Bankruptcy Document       10/4/2023
                                  732-13-14135 Docket No. 2568 Memorandum of
USAO_00025744   USAO_00025790     Decision                                            Bankruptcy Document       10/4/2023
USAO_00025791   USAO_00025791     R21282_002_3_22_13.MP3                                                        10/4/2023
                                  Referrals
                                  FW_ In Re_ Art and Architecture Books of the 21st
                                  Century; Case no. 2_13-bk-14135-RK (Douglas
USAO_00025792   USAO_00025792     Christmas)                                                                    10/4/2023
USAO_00025793   USAO_00025920     08_02_16 Referral letter (002)                                                10/4/2023
USAO_00025921   USAO_00025921     RK Referral 1                                                                 10/4/2023
USAO_00025922   USAO_00025922     RK Referral 2                                                                 10/4/2023
USAO_00025923   USAO_00025923     RK Referral 3                                                                 10/4/2023
USAO_00025924   USAO_00026051     02_16 Referral letter                                                         10/4/2023
USAO_00026052   USAO_00026054     Judge Kwan Referral                                                           10/4/2023
                                  Additional Comm.
USAO_00026055   USAO_00026056     ACE NY                                                                        10/4/2023
USAO_00026057   USAO_00026057     NY Cash Flow 9 highlighted 08102020 (002).xlsx"                               10/4/2023
USAO_00026058   USAO_00026059     Chrismas matter                                                               10/4/2023
                                  Christmas Deposition January 28, 2016 - selected
USAO_00026060   USAO_00026061     pages                                                                         10/4/2023
                                  Deposition Chrimas Transcript January 2016 selected
USAO_00026062   USAO_00026104     documents (002)                                                               10/4/2023
                                  FW_ Art & Architecture Books of the 21st Century Inc
USAO_00026105   USAO_00026107     (dba ACE Gallery); Case No. 2_13-bk-14135-RK                                  10/4/2023
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USAO_00026108   USAO_00026108     Hrycyk L-2                                                                   10/4/2023
USAO_00026109   USAO_00026236     02_16 Referral letter                                                        10/4/2023
USAO_00026237   USAO_00026240     Alexander - Stip - Filed                               Bankruptcy Document   10/4/2023
USAO_00026241   USAO_00026242     Alexander - Stip - O - Entered                         Bankruptcy Document   10/4/2023
USAO_00026243   USAO_00026256     Corse - Stip 2 - Filed                                 Bankruptcy Document   10/4/2023
USAO_00026257   USAO_00026258     Corse - Stip 2 - O - Entered                           Bankruptcy Document   10/4/2023
USAO_00026259   USAO_00026260     Foram - O - Entered                                    Bankruptcy Document   10/4/2023
USAO_00026261   USAO_00026268     Foram - Stip - Filed                                   Bankruptcy Document   10/4/2023
USAO_00026269   USAO_00026276     Fox - Stip - Filed                                     Bankruptcy Document   10/4/2023
USAO_00026277   USAO_00026278     Fox - Stip - O - Entered                               Bankruptcy Document   10/4/2023
USAO_00026279   USAO_00026280     Hede - O - Entered                                     Bankruptcy Document   10/4/2023
USAO_00026281   USAO_00026287     Hede - Stip - Filed                                    Bankruptcy Document   10/4/2023
USAO_00026288   USAO_00026289     Venet - O - Entered                                    Bankruptcy Document   10/4/2023
USAO_00026290   USAO_00026294     Venet - Stip - Filed                                   Bankruptcy Document   10/4/2023
USAO_00026295   USAO_00026300     Yulish - Stip - Filed                                  Bankruptcy Document   10/4/2023
USAO_00026301   USAO_00026302     Yulish - Stip - O - Entered                            Bankruptcy Document   10/4/2023
USAO_00026303   USAO_00026303     Mary Corse Reconciliation                                                    10/4/2023
                                  Goldberg L-1 - Corse agreements and reconciliation -
USAO_00026304   USAO_00026351     AUSA (002)                                                                   10/4/2023


                                  RE_ Art & Architecture Books of the 21st Century Inc
USAO_00026352   USAO_00026354     (dba ACE Gallery); Case No. 2_13-bk-14135-RK                                 10/4/2023
USAO_00026355   USAO_00026356     Re_ Chrismas July 2013 Deposition                                            10/4/2023
USAO_00026357   USAO_00026371     Chrismas Depo 2013 extracted pages (002)                                     10/4/2023
USAO_00026372   USAO_00026374     2019_10_30_11_14_42                                                          10/4/2023
USAO_00026375   USAO_00026376     Ace Gallery NY Sec State                                                     10/4/2023
USAO_00026377   USAO_00026391     Chrismas Depo 2013 extracted pages                                           10/4/2023
USAO_00026392   USAO_00026438     ChrismasRule2004                                       Bankruptcy Document   10/4/2023
                                  Deposition Chrimas Transcript January 2016 selected
USAO_00026439   USAO_00026481     documents                                                                    10/4/2023
                                  Goldberg L-1 - Corse agreements and reconciliation -
USAO_00026482   USAO_00026529     AUSA                                                                         10/4/2023
USAO_00026530   USAO_00026530     Hrycyk L-2                                             Bankruptcy Document   10/4/2023
USAO_00026531   USAO_00026531     Invoice for Art Purchase                                                     10/4/2023
USAO_00026532   USAO_00026537     J. Tanner Ltr 12.20.19                                                       10/4/2023
USAO_00026538   USAO_00026538     NY Cash Flow 9 highlighted 08102020.xlsx"                                    10/4/2023
USAO_00026539   USAO_00026540     Fw_ U.S. v. Chrismas (Rule 17(c) CNB                   Trial Prep            10/4/2023
                                  attachment_DECLARATION OF CUSTODIAN
USAO_00026541   USAO_00026542     CERTIFYING BUSINESS RECORD                             FRE 902-11            10/4/2023
                                  attachment_Form - Business Records FRE 902(11)
USAO_00026543   USAO_00026544     Certfication.20180116                                  FRE 902-11            10/4/2023




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